Case 1:97-cV-01261-.]DB-STA Document 169 Filed 05/10/05 Page 1 of 4 Page|D 138

IN THE UNITED STATES DISTRlC'I` COURT
FOR THE WESTERN DISTRICT OF 'I`ENNESSEE
EASTERN DIVISION

 

JAMIE HAMILTON, and Wife,
BONNIE HAMILTON

Plaintiffs,

VS. NO. 1-97-1261-B

GARY MYERS, as Executive Director
of the Tennessee Wildlife Resources
Agency, et al,

Defeodants.

AND

GARY ARNETT, SHELLY ARNETT,
and JOHN PAUL ARNETT, by next
friend, GARY ARNETT,

.U.G ~ WA (H`\\i

 

Plaintiffs,

VS. NO. 1-98-1263-B

GARY MYERS, as Executive Director
of the Tennessee Wildlife Resources
Agency, et al.,

Defendants.

\_/\_J\_¢\_/vWVWWWVVW`/VVVWVWVVVVVVVV

 

MORDER GRANTING LEAVE TO FILE REPLY BRIEF

 

 

This matter came to be heard before the Court on the /Jt{day of 977/912

2005, Wherein the Court finds that the Defendant’s Motion is well-taken,

Th\e document entered on the docket sheet ln compliance
with Flule 58 end,'or]Q (a) FHCP on "

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IT IS, THEREBY, ORDERED that the Defendants are granted leave of Court to file a Reply
Brief to the Plaintift`s’ Responses to Defendants’ Motion for an Order Cornpelling the Joinder of a
Necessa.ry Party within ten (10) days from the entry of this Order.

ENTER this the /OT-Fday of W#*)f , 2005.

Cg. Wm/Mf _L;Za-_-» E

 

APPROVED FOR ENTRY:

SPRAGINS, ET'I`, CO BUTLER, PLC

f

/
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CERTIFICATE OF SERVICE

The undersigned certifies that at true copy of the foregoing has been served on:

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Mail Stop: 7229 MlB

Washington, D.C. 2024()-0001

Mr. John Harrington

Regional Solicitor’s Office

U. S. Department of Interior

75 Spring Street, SW, Suite 304
Atlanta, GA 30303

by de ' si `ng the same in the United States Mail, postage pr
day of May, 2005. '

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UNITE`D STAETS DISTRICT OURT- WESTE"DTRISRICOF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 169 in
case 1:97-CV-01261 Was distributed by faX, mail, or direct printing on
May 11, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

